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1                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
2
     United States of America,                          2:21-cr-00147-JAD-DJA
3
                     Plaintiff,                         Order Granting First Stipulation to
4
              v.                                        Continue Briefing Deadline
5
     JAMES BATES,                                                 ECF No. 95
6                    Defendant.

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              Based on the stipulation of counsel, the Court finds that good cause exists to
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     continue the Government’s deadline to file a response to the Defendant’s Motion for a New
9
     Trial.
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              IT IS THEREFORE ORDERED that any response to Defendant’s Motion for a
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     New Trial (ECF No. 92), are due by December 9, 2021.
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13            DATED: December 1, 2021.
14                                                Jennifer A. Dorsey
                                                  United States District Judge
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